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                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                   Plaintiff,

v.                                                Case No. 21-CR-00102-CVE

RENEE LYNN HAYNES,

                    Defendant.


          Petition for Writ of Habeas Corpus Ad Prosequendum For Cause

     COMES NOW Thomas E. Duncombe, Assistant United States Attorney for the

Northern District of Oklahoma, and represents to this Honorable Court that there is

now pending in this Court a certain cause of action wherein the United States of

America is plaintiff and in which RENEE LYNN HAYNES is defendant, and that the

same is set for initial appearance at Tulsa, Oklahoma.

     Plaintiff further states that it is necessary to have RENEE LYNN HAYNES

present at Tulsa, Oklahoma, for initial appearance, forthwith, and for the duration of

the above-styled matter.

     That RENEE LYNN HAYNES at this time is a prisoner in the Ottawa County

Jail, Miami, OK and will not have been released on the date that the initial

appearance is scheduled, and that RENEE LYNN HAYNES is in the charge,

custody, and under the control of the Sheriff of Ottawa County Jail, Miami, OK.
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   WHEREFORE, plaintiff prays that a Writ of Habeas Corpus Ad Prosequendum

for Cause be issued by this Honorable Court to the Sheriff of said institution, and

that he be directed and required to deliver the body of RENEE LYNN HAYNES to

the United States Marshal for the Northern District of Oklahoma, or a Deputy

Marshal, or to any federal law enforcement agent, and that the Marshal, deputy, or

agent shall produce and bring the body of RENEE LYNN HAYNES before this

Court in Tulsa, Oklahoma, forthwith, and that upon completion of the above-styled

matter, the Marshal, deputy, or agent shall return the body of RENEE LYNN

HAYNES to the aforesaid Ottawa County Jail, Miami, OK.

                                        Respectfully submitted,

                                        CLINTON J. JOHNSON
                                        Acting United States Attorney



                                        /s/ Thomas E. Duncombe_______________
                                        Thomas E. Duncombe, DC No. 1029476
                                        Assistant United States Attorney
                                        110 West 7th Street, Suite 300
                                        Tulsa, Oklahoma 74119
                                        (918) 382-2700
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STATE OF OKLAHOMA                )
                                 ) ss.
COUNTY OF TULSA                  )

      Thomas E. Duncombe, Assistant United States Attorney for the Northern

District of Oklahoma, being first duly sworn, and having read the above and foregoing

Petition for Writ of Habeas Corpus Ad Prosequendum for Cause, states that the facts

contained therein are true and correct to the best of my knowledge and belief.


                                         /s/ Thomas E. Duncombe
                                         Assistant United States Attorney


      Subscribed and sworn to before me this 25th day of June, 2021.



                                         /s/ Tabatha Jean Berka
                                         Notary Public

My commission expires:

05/08/2021
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